21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 1 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 2 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 3 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 4 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 5 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 6 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 7 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 8 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 9 of
                                        38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 10
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 11
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 12
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 13
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 14
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 15
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 16
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 17
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 18
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 19
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 20
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 21
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 22
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 23
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 24
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 25
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 26
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 27
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 28
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 29
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 30
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 31
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 32
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 33
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 34
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 35
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 36
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 37
                                      of 38
21-60162-rbk Doc#426 Filed 05/09/22 Entered 05/10/22 08:14:04 Main Document Pg 38
                                      of 38
